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Exhibit |
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24

25

John Ekberg
January 16, 2017

UNITED STATES DISTRICT COURT
FOR THE
MIDDLE DISTRICT OF FLORIDA

AMERICAN GENERAL LIFE
INSURANCE COMPANY,

Plaintife,
-~VS- Civil Action No. 8:15-cv-192-T-AEP
KEVIN H. BECHTEL, ET AL.,

Defendants.

DEPOSITION OF JOHN EKBERG

Taken on Behalf of the Plaintiff

DATE TAKEN: January 16, 2017
TIME: 10:01 a.m. to 11:03 a.m.

PLACE: U.S. Legal Support, Inc.
444 Seabreeze Boulevard, Suite 433
Daytona Beach, Florida

Stenographically Reported by:
Jennifer Lynn Harris, RPR
Registered Professional Reporter

U.S. LEGAL SUPPORT
(813) 876-4722

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AO B8A (Rev, 02/14) Subpoena to Testify at a Deposition in a Civil Action

UNITED STATES DISTRICT COURT

for the
Middle District of Florida

AMERICAN GENERAL LIFE INSURANCE CO,

Plaintiff
Vv.

KEVIN H. BECHTEL, et al.,

Civil Action No, 8:18 -cv-192-T-AEP

Ne ee ee es

Defendant
SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION
To: John Ekberg, 1083 Hampstead Lane, Ormond Beach, FL 32174

(Naine of person to whom this subpoena is directed)

wf Testimony: YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify ata -
deposition to be taken in this civil action. Ifyou are an organization, you must designate one or more officers, directors,
or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or
those set forth in an attachment;

Place; US Legal Support Date and Time:
444 Seabreeze Blvd, Suite 433 04/16/2017 10:00 am

Daytona Beach, FL 32117

The deposition will be recorded by this method:

eh Production: You, or your representatives, must also bring with you to the deposition the following documehts,
electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
material: All documents related to any contract or agreement between you, Kevin Bechtel, or Gary Richardson
that reference American General Life Insurance Company or one of its affillates.

The following provisions of Fed. R. Civ. P, 45 are attached - Rule 45(c), relating to the pave of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

CLERK OF COURT
OR

Signature of Clerk ov Deputy Clerk At@fney's signature

The name, address, e-mail address, and telephone number of the attorney representing (name ofpary) _American General
Life Insurance Company , who issues or requests this subpoena, are:

David P. Donahue, Bressler Amery & Ross PC, 2001 Park Place, Suite 1600, Birmingham, AL 35203; One SE 3rd
Avenue,-49th-Fleor, Miami-FL-33434+(205}-820-8244;-ddonahue@brassler, com
Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things before
trial, a notice and a copy of the subpoena must be served on each party in this case before it 1s served on the person to

whom it Is directed. Fed. R. Civ, P. 45(a)(4).
A @pxniprt_|

pan
Datel: le 7 Rptr. LH.

WWW.DEPOBOOK.COM

Case 8:15-cv-00192-AEP Document 127-9. Filed 05/02/17 Page 4 of 33 PagelD 1519

AO 88A (Rev, 02/14) Subpoena to Testify at a Deposition in a Civil Action (Page 2)

Civil Action No. 8:15-cv-192-T-AEP

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed, R, Civ, P, 45.)

\ received this subpoena for (name of individual and title, ifany)

on (date)

CJ I served the subpoena by delivering a copy to the natned individual as follows:

On (date) ; or

[J J returned the subpoena unexecuted because:

Unless the subpoena was issued on behalf of the United States, or one of its officers ot agents, I have also
tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of

$

My fees are $ for travel and $ for services, for a total of $ 0.00 .

I declare under penalty of perjury that this information ts true.

Date:

Server's signature

Printed name and (tile

Server's address

Additional information regarding attempted service, etc.;

accel 1520
vw

AO 88A (Rey, 02/14) Subposna to Testify at a Deposition in a Civil Action (Page 3)

Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

(¢) Place of Compliance,

(1) For a Trial, Hearing, or Deposition, A subpoena may command a
person to attend a trial, hearing, or deposition only as follows:
(A) within 100 miles of where the person resides, is employed, or
regularly transacts business in person; of
(B) within the state where the person resides, is employed, or regularly
transacts business in person, if the person
(i) is a party or a party’s officer; or
(il) is commanded to attend a trial and would not incur substantial
expense,

(2) For Other Discovery, A subpoena may command:

(A) production of documents, electronically stored information, or
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and

(B) inspection of premises at the premises to be inspected,

(d) Protecting a Person Subject to a Subpoenas Enforcement,

(1) Avoiding Undue Burden or Expense; Sanctions, A party or attorney
responsible for issuing and serving 3 subpoena must take reasonable steps
to avoid imposing undue burden or expense on a person subject to the
subpoena, The court for the district where compliance is required must

enforce this duty and impose an appropriate sanction —which may include
lost earnings and reasonable attorney’s fees—on a party or attorney who
fails to comply,

(2) Conmnand to Produce Materlals or Perrit Inspection,

(A) Appearance Not Required. A person commanded to produce
documents, electronically stored information, or tangible things, or to
pormit the inspection of premises, need uot appear in person at the place of
production or inspection unless also commanded to appear for a deposition,
hearing, or trial,

(B) Objections, A person commanded to produce documents or tangible
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested,
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. If an objection is made,
the following rules apply:

(i) At any time, on notice to the commanded person, the serving party
may move the court for the district where compliance is required for an
order compelling production or inspection,

(it) These acts may be required only as directed in the order, and the
order must protect a person who is nelther a party nor a party's officer from
significant expense resulting from compliance,

(3) Quashing or Modifying a Subpoena.

(A) When Required, On timely motion, the court for the district where
compliance is required must quash or modify a subpoena that;

(i) fails to allow a reasonable time to comply;

(ii) requires a person to comply beyond the geographical limits
specified in Rule 45(c);

(iil) requires disclosure of privileged or other protected matter, ino
exception or waiver applies; or

(iv) subjects a person to undue burden.

(B) When Permitted. To protect a person subject to or affected by a

subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena if it requires:

(i) disclosing a trade secret or other confidential research, development,
or commerolal information; or

(il) disclosing an unretained expert's opinion or information that does
not desoribe specifle occurrences in dispute and results from the expert's
study that was not requested by a party,

(C) Specifying Conditions as an Alternative, tn the circumstances
desoribed in Rule 45(d)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under specified
conditions if the serving party:

(I) shows a substantial need for the testimony or material that cannot be
otherwise met without undue hardship; and
(ii) ensures that the subpoonaed person will be reasonably compensated,

(c) Dutes in Responding to a Subpoena,

(1) Producing Documents or Electronically Stored Information, These
procedures apply to producing documents or electronically stored
information:

(A) Documents, A person responding to a subpoena to produce doouments
must produce them as they are kept in the ordinary course of business or
must organize and label them to correspond to the catogortes in the demand.

(B) Form for Producing Electranically Stored Information Not Speoified.
Ifa subpoena does not specify a form for producing electronivully stored
information, the person responding must produce it in q form or forms in
which it 1s ordinarily maintained or in a reasonably usable form or forms,

(C) Electronically Stored Information Produced in Only Que Form, The
person responding need not produce the same electronically stored
information in more than one form,

(D) Inaecessible Electronically Stored Information, The person
responding need not provide discovery of electronically stored information
from sources that the person identifies as not reasonably accessible because
of undue burden or cost, On motion to compel discovery or for a protective
order, the person responding must show that the information isnot =
reasonably accessible because of undue burden or cost. If that showing is
made, the court may nonetheless order discovery from such sources if the
requesting party shows good cause, considering the limitations of Rule
26(b)(2)(C). The court may specify conditions for the discovery.

(2) Claiming Privilege or Protection.

(A) {Information Withheld. A person withholding subpoenacd information
under a claim that it is privileged or subject to protection as trial-preparation
material must:

(i) expressly male the claim; and

(tl) deseribe the nature of the withheld documents, communications, or
tangible things in a manner that, without revealing information itself
privileged or protected, will cnable the parties to assess the claim.

(B) Jnformation Produced, If information produced in response to a
subpoena is subject to a claim of privilege or of protecifon as
trial-preparation material, the person making the claim may notify any party
that received the information of the claim and the basis for it. After being
notified, a party must promptly return, sequester, or destroy the specified
information and any copies it has; must not use or disclose the information
until the olaim is resolved; must take reasonable stops to retrieve the
information if the party disclosed it before being notified; and may promptly
present the information under seal fo the court for the district where
compliance is required for a determination of the claim, The person who
produced the information must preserve the information until the claim is
resolved.

(g) Contempt.

‘The court for the district where compliance Is required—and also, after a
motion is transferred, the issuing court—may hold in contempt a person
who, having been served, fails without adequate excuse to obey the
subpoena or an order retated to it.

For access to subpoena materials, see Fed, R, Civ, P, 45(a) Committee Note (2013),

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john ekberg

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Page | of 4

From: ‘john ekberg” <john_fienergy@bellsouth.net>
To: <Theresa_Taylor@aigag.com>

Ge: <Pat_Russo@algag.com>

Sent: Friday, April 13, 2007 4:13 PM

Subject: Fw: Kevin Bechtel OWD11

Hi Theresa..,..thanks for all your help now and in the past!

Kevin Bechtel's new contract is an IMO contract with commissions assigned to
the corporation, Life Brokerage Partners,

Sandy assigned the corporation the number 3P263 and Kevin's Producer number

3P264. If these are changed for any reason, please notify us.
This IMO will be under Gary Richardson's new MO contract.
Jobn Ekberg - NMO # 0T781

(888) 568-3344

--e-= Original Message -----

From: <Pat_Russo@aigag.com>

To: <j fiene: ellsouth.net>

Co; <Theresa_Taylor@aigag.com>, <Patti_Newall@agfg.com>
Sent: Friday, April 13, 2007 11:21 AM

Subject: Kevin Bechtel OWD11

> I'm forwarding this on to Theresa but what about the pending policy
> question and the list of business Theresa is wanting? Also, someone needs
> to confirm that her memo is accurate.

>

>

> Pat Russo

> AIG/American General

> Southeast Regional Office Marketing Coordinator

>

> (800) 787-9937, ext. 6324

> (214) 654-6326 fax

> pat_russo@aigag.com
>

> Check out our website with up to date status & messaging

> system@htip://www.aiglifebrokerage.com

“john ekberg"
<john fienergy@bel — To:
igag.com>

lsouth.net> ce!
Subject: Re: Kevin Bechtel

VVVVVVVVV

Vv
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4/13/2007

Ekberg 000001
. _.Case.8:15-cv-00192-AEP Document 127-9 Filed 05/02/17

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> 04/13/2007 09:41
> AM

>

>

>

>

>

> Good morning.

>

> This contract (and Gary's) is to be set-up in Kevin Bechtel's name with an
> assignment to the corporation.
>
> FYI.....Kevin's partner and President of Life Brokerage Partners is Ravi
> Malick. Here are there new email addresses:
>
Kevin Bechtel (Principal of Record)
; * kbechtel @lifebrokerage epartners.com
Ravi Malick

> > nmalick@lifebrokerage partners.com.
>

> Thank you

>

> John Ekberg - NMO # 0T781

>

> (888) 568-3344

2 mma Original Message -----

> From: <Pat_Russo@aigag.com>

> To: <fienergy@bellsouth,net>; <j fiener th.net>
> Co: <Patti_Newall@apfg.com>; <Dennis_ Monr igag.com>;
> <Theresa_Taylor@aigag.com>; <pauline_baker@aigag.com>
> Sent: Friday, April 13, 2007 9:23 AM

> Subject: Kevin Bechtel OWD11

>

>

>>

>> Sandy/John - Before Kevin's paperwork can be completed by Milwaukee,
>> either

>> your office, Gary's or Kevin's must respond to Theresa's “Memo Of

>> Understanding" and answer all related questions and provide the policy
>> information she requires, If you would like for Theresa and I to work
>> directly with Kevin, we'll need his e-mail address. I have an e-mail

>> address for him but it is the one with LBEG so I'm not sure it is still

>> good. As you can see, I haven't even copied Gary on this e-mail because
>I

>> wanted to touch base with you first.

>>

>> Please advise how you would like for me to proceed or if you would like
> to

>> take control.

>>

>>

>> Pat Russo

>> AIG/American General

>> Southeast Regional Office Marketing Coordinator

Page 2 of 4

4/13/2007

Ekberg 000002

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Page 3 of 4

>>
>> (800) 787-9937, ext. 6324
>> (214) 654-6326 fax

> > pat_russo@algag.com

>> > Check out our website with up to date status & messaging

>> system@http://www.aiglifebrokerage.com

>> .

>> -a--- Forwarded by Pat Russo/DALLAS/USLIFE on 04/13/2007 08:11 AM -----
>>

>> Theresa

>> Taylor@USLIFE To: Pat

> > Russo/DALLAS/USLIFE@AGES, Patti Newall/DALLAS/USLIFE@AGKG, Michael

> Justus/BROOKFIELD/USLIFE@AGFG, Andrew Skrobis/Milwaukee/USLIFE@USLIFE,
>> Doug

>> 04/12/2007 05:11

>> Ksimmer/Milwaukee/USLIFE@USLIFE

>> cc: Pauline

>> Raker/Milwankee/USLIFE @USLIFE

>> Subject: Kevin Bechtel

>> 0OWD11

>>

>>

>>

>>

>> Memo of Understanding

>>

>> Moving to an IMO level under Gary's OPU67 as an individual with an
>> assignment to Life Brokerage Financial Group. Need to verify that,

>> because Part 2 is completed on the paperwork, which is the corporation
>> section, along with an assignment sent in. Please verify if this is to

>> remain as an individual with an assignment to Life Brokerage, or should
>> it be set up as a corporation

>>

>> Downline will also be moved

>>

>> Compensation changes:

>> Life Product - no change will remain as is

>> Specialty Products from "J" to "E"

>> Annuity products from "D" to "S"

>>  A&H products from "D" to "S" first year & “D" to "J" renewal

>>

>> Bonus change to 35.5% (4 Million { ), is this to be RETRO or NON RETRO
>> - nothing was indicated

>>

>> Is this change to apply to pending policies (approx 5) - nothing

>> indicated on paperwork

>>

>> There was a request that a list of inforce policies would be sent in

> to

>> be transferred from Life Brokerage Equity Group to Kevin's new contract

>> + that has not been received
>>

4/13/2007

Ekberg 000003

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Page 4 of 4

>> There was another request that a list of pending cases that should be
>> transferred to Kevin's new contract - that also has not yet been

>> received

>>

>>

>> Please review and respond immediately if you are in agreement, so that we
>> can make the changes and let New Business know.

>>

>>

>> Thank You,

>>

>> Theresa Taylor

>> Contract Maintenance - Supervisor

>> 414-286-1766

>> 414-212-0474 (Fax)

>> r@ai

>>
>> PRIVILEGED AND CONFIDENTIAL

>> The information in this e-mail (and any attachments) is confidential. If
>> you are not the intended recipient, you must not read, use or disseminate
>> this information. Although this e-mail and any attachments are believed
> to

>> be free of any virus or other defect that might affect any computer

> system

>> into which it is received and opened. It is the responsibility of the

>> recipient to ensure that it is virus free and no responsibility is

>> accepted

>> by American Intemational Group, Inc., for any loss or damage arising in
>> any way from its use.

>

>

4/13/2007

Ekberg 000004

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IMO Organization RECRUITER
Profile RECRUITER AGENCY

Sheet
Agency Principal: nevi Ker intel Agency Name: Lift Bea Ver ane Teetrvers LLC

Address: 3782 “Torna. “Red. ciy: Oldsmar State: Fee
Office Phone#aX2- FUIFOBO ——— PaxX@\R Fol 7 E-mail Address: blascltel @ life beakenaye pactners.c

Website: ATS. CO

Business Type: (Sole Proprietor 1 Partnership (© Corporation atic
Are you a member of any National Marketing Organization, Formal Study Group, or other organization?

If so, please name:
States of Operation:, Securities Licensed?: (Yes @INo Type:

1) Key Office Staff (Primary Contacts in the agency other than the Principals) (IMO only)

Life Busines wevin: Bec wel Wi Email address thloechtel alike binder mariners: ty
Annuity Busines E-mail address
Variable Business 7 E-mail address:
A &H Business E-mail address:

7
Licensing & Conimeting ounces Nally _ E-mail addrese unetlye Lac besber pe antes: torn
Tustrations and Proposals) 6G _(Werars E-mail address__{ Morals ¢ Citebrocemp. pavives com
U/W & Pending Business Vici WeDwmaal E-mail address: Life broketace 3.c0r%

Advanced Sales E-mail address:

QNumber of Employees: 42 _ Number of Producers in Hierarchy 200_ (in-House)__O (Detached) ZOO

How many will you contract with AIG Life Brokerage? [DD +

3) Are you currently contracted /appointed with any other AIG American Gencral Companies? %es CINo
If yes, which onc? Ammecionin Gere ces| jean

Agency Code No. oWeF

4) Primary Life Companies (current carriers)

Company This Year Last Year

ie tun Su
2 Aap tn Sears
3. AG 3un (5am,

INTe AMERICAN

WE KNOW LIFE.” GENERAL

AIG Lite Brokerage

Ekberg 000005

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IMO/BGA Organization
Profile
Sheet Page2

5) Percentage of activities engaged in: Personal Production: 0 _% Mgmv/Administration: §0_% Recruiting: 50%

6) The following producer services are required for all JMO/BGA appoinuments?

Your | Vendor*} 3rd Party*

Indicate who will provide each service: Office

1) Sereen, quality control and submit all Licenses & Contracting paperwork a 0 o
2) Screen, quality control and submit all applications and required new business forms o o
3) Provide pending case management services iw go a
4) Provide case design and illustration support {w 9 ]
5) Provide all forms, supplies, and marketing materials of Go o
6) Provide product training and marketing support a I Oo
How will new business be submitted: *if using a vendor or 3rd

Lo . oo. party, please provide their
Submission service via: name and contact information

CO) Image and Data

@ Image only

O Fax-in

O Overnight Service
C1 US. Postal Service

First 12 months Sale Projections for AIG Life Brokerage:
(Show as paid annualized premiums by product line for the first 12 months under contract)

Premium Number of Cases
Term Life $_ 2 MM 200
Fixed Universal Life $_ 34 mM §00
Indexed Universal Life $_o
Variable Universal Life $_9o
Supplemental Health Products $_o0
Deferred Annuities $__ 0
SPIAs $ 2M (0

EFT: Required for IMO level. Attach EFT form to contracting paperwork.

Do you use an Agency Management System? Yes No

If yess SUIT “GA System” aKgency Works 0) EZ Data C) Other

AIG Life Brokerage
Midwest Operations Center @ 750 Virginia Street, Roam 222 # Milwaukee, WI 53204-1539 @ 888-653-5463
Diswributing products issued by: AIG Annuity Insurance Company, American General Life Insurance Company
g I i Group, Ine.
AMG Life Brokerage is a division of American International C

Maem. 4

i. ®

AGLC100809- REVO604

Ekberg 000006

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Commitment RATE Aven
Letter AlG Life Brokerage

eo
This is to confirm my commitment of §,000, 000 paid annualized life premium credits in conjunction
with my Agency Agreement with AIG Life Brokerage.

Credit for contract validation and Brokerage Life productivity bonus may be earned on products written with
American General Life as follows:

100% of paid first-year annualized premium credit on term including term conversions;

© 100% of paid first-year annualized premium credit on whole life including interest sensitive;

@ 100% of paid first-year annualized target premium on fixed, indexed, and variable universal life;

10% of paid first-year premium in excess of target on fixed and indexed universal life;

@ 100% of paid first-year annualized premium credit on Accident and Health products;

@ 10% of paid first-year premium on single premium and flexible premium annuities. The combined qualifying
credit from annuity business may not exceed 25% of the total life production credit,

Credit for split cases will be allocated according to the percentage designated on the application at time of
issue, The personal production of the agency principal counts toward agency production, If contracted in a cal-
endar year a pro-rata amount will be determined, and then any calendar year thereafter, bonus, if applicable,
will be adjusted for any variation between bonus paid and bonus earned with corresponding recovery of excess
bonus payments.

The Productivity Bonus is paid based on Representative's actual production. If this production dees not meet
required levels, the Productivity Bonus may be reduced or removed. American General Life Insurance
Company will be the sole authority in determining production amounts and the Productivity Bonus paid, and
reserves all rights with regard to the Productivity Bonus program, including termination and/or modification
of the program at any time without notice, ,

Kevin “excite |

rincipal’s Name

Life “Brokerace TAciners LLC
oe Name (if applitable)

DSLot

Signature of Principal Date
Regional Vice President Date
AIG Life Brokerage
Midwest Operations Center @ 750 Virginia Street, Room 222 ¢ Milwaukec, WI 53204-1539 @ 888-653-5463
Distributing products issued by: American General Life f Company
Merabert of American I ional Group, Ine.
AIG Life Brokerage is inion of Ameri internad nal C panies.®

AGLCI00810 REV 0306

Ekberg 000007

Case 8:15-cv-00192-AEP...Document127-9_.Filed 05/02/17 Page 13 of 33 PagelD 1528

EVE en. an

. Appointment Application
AIG Lite Brokerage
A division of the American International Compantos.®
mM CIMUUHMU MM MITCH Ten mira yt OTe

Please Print Clearly

Social Security Number: dnt DYN O8 nD)
Name: ‘Bectrrte { evi MQ +t

JWT Erector mip e

Last Name First Name Middle Initial
Date of Birth: 1O Ld [973 sex (7 Male (1) Female
month day year
ResidenttHome: © 4 LI “Je wie || le Cl
Physical Address
a talnn Har loor Fu BYb BS
City State

ResidenvHome Phone Number: E-Mail Koetitel@ il bra keragepacterse
Business Address: 29 BR “Tarmna cy. Aldsimor Fz. BY lo FZ

Physicat Address City State Zip
Business Phone Number, “Tt 39 1 POR Fax Number VA: FG ell 7

“2Tam an officer of the below corporation,

ORR MRO VO MLCHN TD LCucE tine Mtoe ciiCls
Please Print Clearly Individual Applicants Do Not Complete This Section

Tax 1D Number SX -Azel HORD
Corporate Name: Like “Parone ry _vacmets. LLC
Corporate Address: 2982 “Tew pa..Kel.. sn

Oldsmar . Fu. BULBS
City State Zip
Corporate Phone Number: Aeld ADL: FORO State Incorporated: FZ.
Fax Number: FNP + FID te [BA E-Mail: Kigerinte| @like loraverane Qultrers. Cor

Primary Officer for Corporate Records: Koeyirn” Ber rri¢|

Background information reported on page ~ should provide information for the Officer of the corporation,

KNEE ULC MMU mem U Lie MO NMmAn en AVA MCCS YC Rear ER TTanT tart rites aR ee eee

Primary mailing address, phone contact, e-mail and faxes will be communicated to the following:

cat All Home Office Mail and other Communication will be directed to other than the above. Please direct to:

Agency Name: Lib. BS Rrokeray, A MELO I al Grau 2... Agency Code Number:

Business Address: 2092 Te Leaman Rd. Commission Address! BAER Q “le CLIN +h tees:
Oldsmar FL Aue AZ QldSmar Fe 240717

“he State Zip Stata 2iP

fax Number: © \A: - G9. Cl ot Phone Number: S- PSL. 9O5O
E-Mail roe he OE Ks nce Vol, Cy yet: “> lease check when commission check is

mailed directly to agent's business address,
AGLUL USS { Hovh406

Ekberg 000008

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INTE AMERICAN Appointment Application
° GENERAL

AIG Life Brokerage

A diviston of the Amerinan ineroational Companies?

eee ame AMC CU TMS MRE RCMAUEIUI UL Cot m (oad Dac
Attach copies of licenses for all requested state appointments. Provide appropriate fees for nonresident appointments.

Social Security Number nim D Oni aD)

Applicant Name: Leia PBecinte |

Licensed for: 4Tite 77 Health Contracted as; [4 Individual fT Agency

Resident State: FL. Resident License Number: _ AONALUR ge tpn

Nonresident Appointment State(s): “tye attat ined

Attach applicable fees and licenses for states listed above,

FLORIDA residents must specify the Horida county vehere their business office is located: \ ne\ ia, 4s saree a

NON-RESIDENT FLORIDA agents soliciting in Florida inust list the couaty(s) in Honda m vehich thay intend to personally solicit:

OM CUCL CR ACUTE AUC CROM AM UIOTRTIE HUY CR UTC CM ent Cot CL

Please complete the following ONLY when requesting variable appointment,

Who is your Broker/Deaier?
CRD Number: cient tne
Circle all current NASD licenses that you hold; 6 7 22 24 26 63 Other:

Independent Wholesaler Election

Some broker-dealers may permit third-party wholesaling firms to offer certain services and support to registered representatives in arder to facil
itate sales of American General Life Insurance Company (AGL) variable universal life products. These firms are referred to by AGL as Independent
Wholesaiers (IW). In order far you to Sell AGL’s variable universal life insurance praducts through an (W, an IW agreement must be in place with
the BGAMQ and your broker-dealer must be informed, pursuant to NASD Rule 3030, of your IW election. Additionally, this W Election Form
must be submitted to AIG Life Brokerage, which documents your IW election. if you wish to obtain support through an IW, please indicate your
election below,

IE IW Election:
(Name of W Finns and Code Number)
BMC R OUCH eM cinoma

IMO candidates, attach copy of E & O Certificate. All others, please complete the following:
A. Name of Carrier: alsorance
B. Policy Number: ChPanIz Lady -Cx>
C.Name of insured: Kevin oer trbet| fe Broberace 12 edracs, LLC
D. Coverage Amounts (include both per act and aggregate amounts): v
per Ac: A> malian
Aggregate: 4 meu \Na ry

E, Expiration Date (month/date/year): Lf. I OF

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Case 8:15-cv-00192-AEP Document 127-9 Filed 05/02/17 Page 15 of 33 PagelD 1530

AMERICAN Appointment Application
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AIG Lite Brokerage

A division of tho Amerivan intornatiogal Companins,@

Wie WM Ty Caen CMI UVTI UC MOBLULMAN Cre Lic
If this is a carporate application, the questions should be answered by and about the agency principal.

Social Security Number: pl BY ANOA Nal)

CONFIDENTIAL HISTORY/BACKGROUND INFORMATION
Please provide complete details for any “yes” answers in the Remarks section. Attach additional documentation as necessary.

1, Have you ever been convicted of or plead guilty or no contest to:

a. Any Felony? 1. Yes orto
b. Any Misdemeanor? “aad YES © wo
c. A violation of federal or state securities or investment related regulations? LJ Yes (7 No
2, Are you currently under investigation by any legal or regulatory authority? Ld Yes Zo
3. Da you now owe money to any life or health insurance company? oT Yes Ko
4. Have you or a firm in which you were a partner, officer or Director been declared bankrupt or been Li Yes No

party to a bankruptey or receivership proceeding, or have you had a salary garnished or had liens
or judgements against you?

5, Has any insurance company or securities broker-dealer terminated your contract of permitted you [2 Yes No
10 resign for reason other than lack of sales?

6. Have you ever been the subject of a consumer-initiated complaint or proceeding by any selfregue =") Yes No
latory body or any securities commodities or insurance requlatory botly of organization or employer?
7. Has a bonding company ever denied, paid out on or revoked a bond for you?
ives oho
8 Have you ever had a claim filed against your professional fiability or errors and a
OMissions insurance coverage? sew YRS No
9. Has any insurance department, government agency or self-regulatory authority ever denied, sus- et,
pended, revoked, censured or barred your license or registration or disciplined you with fines or =} Yes wf: NO

by restricting your activities?

REMARKS SECTION: Details of “yes”

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Case 8:15-cv-00192-AEP Document 127-9 Filed 05/02/17 Page 16 of 33 PagelD 1531

Attached you will find the withdrawal. The tax was all ready paid last year. The IRS agent who
did my audit went on maternity leave and did not note the file as paid in full. A new agent took
over and automatically filed a lien to include interest and penalty without checking for
payment. | got notification on June 21 from the IRS and it was withdrawn the next business
day. Please note that it was not released but 100% withdrawn. A mistake.

To complete your underwriting file | have attached:
1, The entire tax amount paid per the audit and estimates for 05,

As you will find this lien was a mistake and was not supposed to be reported. | have
contacted Equifax and they have no record.

Kevin Bechtel

Life Brokerage Partners, LLC
3982 Tampa Road

Oldsmar, Fl. 34677

Toll Free: 888. 577. 5234
Fax; 813.792.6178

Cell: 727. 647. 4100

ifebrokera rtners.com
www.lifebrokeragepartners.com

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Case 8:15-cv-00192-AEP Document 127-9 Filed 05/02/17 Page 17 of 33 PagelD 1532

Internal Reyerue Service ‘Department of the Treasury

Kevin Bente to @e

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Contact Fax:Numben

até: 904-865-1845!

Date; 0e/aa/2006 | Emm layer identification Nuner
GonigatAddress:
405 Wost Bay Street, Brop 7710
Jackedrivilla, FL. -3B202

‘Dear Mr, BRotite), .

The Interrial Revenue Sorvice filed a. Natice-of Feder Tax Lien against your
property on dune 8 9006; This.nallce is being.-withdiawn.under the- provisions:
‘of Infamal Revenue Goda seption 6AZA().

‘Eviplogedd 8 a.cepy-of the Wihduawal Of Fld Notes of Faltetal Tex Lidn tHahwe

ave mailed foc reeording.

The withdrawel-of the Notice of Federal Tax Lien dges nafaffect the stalutony.jien
provided by. Infernal Beyanue Code section G82; iter mply:relinguishes any lien
rlorny obtained by the internal Favenie Servite whan the hatice-was fled:

if ye have any questions, pldash:call the person whose Mate: arid phone.
nuraberate shown above: ,

Sincerely

Maxthe.;..Lincsay; Badge tso0Rs4e
Manager, Asivisory. Unit
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é AMERICAN Appointment Application
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AIG Life Brokerage
A division of die Amerizan Tntornational Campantes, ©

SMC CORO MUA CC LM) eee Pie Ay oe OC

Social Security Number tl) NOLS aD)

i have read and received, as of the date indicated below, the notice concerning investigative consumer reports, as required by law. { under-
stand that in signing this form, | hereby authorize the American General Life Companies that | have requested appointments with (herelnafter
collectively referred to as the “American General Alfiliates") to investigate my background, including my credit history and interviews with for-
mer employers and/or primary insurance company, | authorize the American General Affiliates and individuals named in the application to give
the American General Affitiates any information regarding me that they have available, | agree that if any of my answers to the questions in Part
7 change, { will notify, in writing, American General Affiliates vithin 10 business days of the incident which would cause an answer 10 change,
1 understand that falsification of information or failure to update the answers on this application may result in termination of appointment(s)
with ail American General Affiliates. In addition, | hereby authorize the American General Alfiliates to report information about earnings and
debit balances to any credit bureau of similar organization.

further authorize American General Affiliates, 10 verify my previous employment and securities registration history through the CRD system,

Thereby authorize American General Affitiates to share background, licensing and applicant data with their affiliates. | acknowledge that |
haye received and reviewed (he “Compliance Manual” far the American General Life Companies, and/or “Operations Manual” and | agree to
abide by those principles, a5 amended or supplemented fram time to time, in representing any of the Companies that appoint me.

Date: A. / A. / Q7. Signature:

SU Ua Mmm) rae) Mites Cr

The undersigned {recommending representative or General Agent] by executing this applicant raconmends the applicant to American General
Affiliates as'a suitable person to represent the companies. The recommending individual or General Agent also agrees to supervise and assume

responsibility for the applicant, if we Affitiates, in accordance with the terms of his/her Contract.

bay - — Date: 4. i tl i OF

Signature of Recruiter
Print Name: Cx Wf “Re ru SOD Agent/Agency Code #

Signature of Individual -or- Principal of Corporation

Slgnature:

Required

“Print Name of Recruiter

Patra CUMS CTICCROLUN (Hem eren i

Signature: Date: / f

(Additional signatures, f required, RVP)

Print Name: Regional Code Number _

Remove and leave Part 11 with applicant,

MOM CTIMOMTm Cour a mem M Mai mi Tet TAM OTTO Mm tot aa

Pursuant to the Fair Credit Reporting Act, this notice is to inform you that as a component of our contracting and appointing process, each company
with which you have requested an appointment may request an investigative consumer report which may include information related to your charac:
ter, general reputation, personal characteristics, and mode of living. You have the right to request in writing, within a reasonable period of time after
receipt of this nutica, a complete disclosure of the scope of the Investigation requested and a written summary of your rights under the Far Credit
Reporting Act. Send your request to: Licensing and Contracting Department, 750 W, Virginia St. Milwaukee, Wi 53204, Disclosure information must be
in writing and mailed to you, aiong wilh the written summary of your rights, within five (5) businass days after receipt of your written request. Also
each company with which you have requested an appointment may share the information contained in the investigative report and other information
in your fie with its affiliates, unless you send a written request to the above-described address directing that this information not be disclosed or shared
with affiliates.

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Case 8:15-cv-00192-AEP Document 127-9 _ Filed 05/02/17 Page 21 of 33 PagelD 1536

AMERICAN Appointment Application
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AIG Life Brokerage

A division of tha American International Companies.

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Kevin Bechtel

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Direct Upling Name@ary A Richardson Agency Code Number: 3 P26
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Applicant Name;

Appiicant Sactal Security Number:

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Contract Level Requested (Yio)

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Commission Level for American General Life it First Year is selected, Renewal

Ufe Products: First Year Level: . 3 Level must alsa be innlcated,
Renewal Level 2.
(HO Approval) Praductivity Bonus Level 25.5 A AA.
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AGL Annuity Deferred & immediate: First Year/Renewal Level 2

: if First Year is selected, Renewal
A&H: First Year Level <5 Level must also be indicated.

| Renewal Level cet
1

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Annualizatlon: Please attach annualization form when requesting annualization. (Avallable on a limited basis.)

tlectronic Funds Transfer (EFT) Please attach EFT farm and a copy of a voided check when Tequesting io recelve commissions electronically,

Appointment, Bonus and Annualization require Home Office Approval.

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__—s Case 8:15-cv-00192-AEP Document 127-9 Filed 05/02/17 Page 22 of 33 PagelD 1537

HAMA

Bach life insurance company’s products are separately underwritien and independently supported by the
representative company, The below listed companies are members of tha American International Group, Inc.

Life Rrokera “g “tuilin dy LUC.
tsst tame Gece rirst Nama Pye WO ritddte tut |

If Representative is a Corporation, the full Corporate name must appear above, and an authorized officur must
sign and indicate the officer's title.

Individual
Social Security Number a=) NOE mt)

G ti /
tux Identification Numbor ef): RALIL OP) co

EON AMAL ONIS

Representative

Signature Mb Title Cuio ne (

American General Life Companies

Contract Dale
To be completed by Home Office Home Office Authorized Signatwr

{

American General Life Insurance Company, Houston, TX

AGLHI0S6-4108 Abvision of the American Iatornadonal Companios

| WE KNOW LIFE.” AM UNERAL

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Case 8:15-cv-00192-AEP Document 127-9 Filed.05/02/17 Page 23.0f.33 PagelD 1538

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GENERAL Assignment of Commissions

American Genera! Life Insurance Company
A member company of American International Group, Ine.

P.O. Box 401 + Milwaukee, Wi 53201-0401

Agent Code No.

FOR VALUE RECEIVED, the undersigned hereby transfers, sets over and assigns unto

Life “Bratrevage “1a cmers Lic (TAX ID & SS¥ BX = BAYA )
(an individual), (a corporation, (a partnership), (3 sole proprietorship)
of CAB2 Tampn Fd 0! dsmar Fz. BY. td (address)

an amount equal to _\CYS "7 percent of any and all commissions, renewal commissions, allowances
and fees which may hereafter accrue in favor of the undersigned by virtue of the agency contract now in force
between the undersigned and American General Life Insurance Company, it being understood and agreed that this
assignment shall be subject to any present indebtedness or any which may hereafter accrue to be due and owing
American General Life insurance Company.

The undersigned hereby represents and warrants that said commissions and allowances are not now assigned,
and the undersigned hereby will forever warrant and defend his right to receive the same, this instrument to
remain in full force and effect until same is released by the assignee by an instrument in writing furnished said
Insurance Company,

The undersigned hereby authorizes and directs sald insurance Company to pay over any such commissions and
allowances to said assignee, subject to the conditions hereof, and It is agreed that any payment so made will be a
full and complete discharge of said Insurance Company's obligation to the extent of any payment so made.

IN WITNESS WHEREOF, the undersigned has hereunto set his hand and seal at _ Ot cl smacy Eu
f , this Jot day of _IVaveh ,20 _0'7

py,

Signature af Assignor

Received and replaced on file this day of , 20
AMERICAN GENERAL LIFE INSURANCE COMPANY
By

“President & CEO

41-2033
B1601000-1078-0701 AEVO104

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Case 8:15-cv-00192-AEP Document 127-9 Filed 05/02/17__Page 24 of 33 PagelD 1539

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_____Case 8:15-cv-00192-AEP Document 127-9 Filed 05/02/17 Page 25 of 33 PagelD 1540

The United States Life Insurance Company in the City of New York

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AIG American General

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Effective this day of

-———_——-Gase 8:15-cv-00192-AEP—Decument127-9 Filed-05/02/17 Page 26 of 33 PagelD 1541

20, between The United States Life Insurance

Company In the City of New York (“The Company”) and

(“The General Agent”) whose address

is

1. APPOINTMENT; AUTHORITY

The Company appoints the General Agent to procure
and submit to the Company applications for all types of
insurance and annuities issued by the Company.

The General Agent is authorized to appoint Producers
provided they are properly licensed by the appropriate
insurance regulatory authority. As used herein, Producer
shall mean any person who procures, supervises or other-
wise participates In the procurement of applications for
insurance and annuities for the Company.

2. PRODUCERS

a) The General Agent shail submit to the Company a copy
of every Contract into which he enters with each Producer
he appoints. Such Contracts shall be on forms approved
by the Company.

The General Agent shall promptly notify the Company, in
writing, upon termination of any Contract with a Producer,
The Company reserves the right to require the General
Agent to cancel the appointment of any Producer.

b) The General Agent shall be responsible to the Company
for the acts of his Producers and his employees, and shail
promptly report to the Company, in writing, any known or
alleged misappropriation of funds by such Producers or
employees regardless of whether such known or alleged
misappropriation is with respect to funds of this Company
or funds of any other person or company,

¢) The Company agrees to be and is hereby authorized and
directed by the General Agent to make payment on his
behalf following termination of this Agreement to
Producers for compensation earned by them pursuant to
the terms of the applicable Contract with the General
Agent on file with the Company.

3, COMPENSATION

The compensation of the General Agent shall be In the
form of commissions, bonuses and other ellowances, if
any, on business written by him and his Producers in
accordance with the Schedule of Compensation in effect at
the tlme of application for such business, which current
Schedule is made part of this Agreement. The commission
schedule may be changed by the Company at any time,
with respect to business written thereafter, upon written
notice to the General Agent.

4. GENERAL PROVISIONS

a) The Goneral Agent agrees to comply with all applicable
insurance laws and regulations and with all the published
tules, regulations and Instructions of the Company now in
force and such as may be hereafter adopted,

b) If the Company shall, either during the continuance of
this Agreement or after its termination, return the pramium
on any policy, the General Agent agrees to repay the
Company on demand any compensation received by the
General Agent on premium so returned.

¢) All monies or other property belonging to the Company,
while in the custody of the General Agent, shall be hald by
him in a fiduciary capacity and shall be reported and trans-
mitted to the Company in accordance with its instructions.

d) The General Agent shall maintain accurate records of his
transactions on behalf of the Company in a form satisfactory
to the Company. Such books and records shall be open for
examination by authorized representatives of the Company
and shall remain the property of the Company, The General
Agent shall return all undelivered policies to the Company
for cancellation in accordance with Its instructions.

e) The General Agent, his Producers and his employees
shall have no authority to make, alter or modify any policy
or receipt, nor to walve a forfeiture or any provision or
condition of any policy issued by the Company, nor to
incur any liability on behalf of or against the Company,
except as expressly provided hereln or otherwise authorized
in writing by the Company. The General Agent is not
authorized and agrees not to publish, issue or circulate any
advertising material, circular or pamphlet relating to the
Company or Its products unless the same shall have been
approved in writing by an officer of the Company,

f) If any lawsuit shail be brought against the Company in
consequence of any unauthorized action or statement of
the General Agent, his employees or his Producers, all
costs and damages arising therefrom shall be paid by the
General Agent.

g) The General Agent agrees to reimburse the Company
for any payments made or costs incurred as a result of any
claim made by e@ Producer or an employee of the General
Agent against the Company,

h} The Company shall have a prior lien on any and all sums
of money due or to become due to the General Agent
under this or any prior Agreement with the Company for
any indebtedness, obligation or tiability of the Genera!
Agent to the Company; and the Company may at any time
offset against such sums of money the amount of any such
indebtedness, obligation or llability,

It is understood that any “advance” or “commission
advance” made by the Company to the General Agent
shall be a loan which shall create an Indebtedness of the
General Agent to the Company repayable upon demand. It
Is further understood that any “advance” or “commission
advance” or other loan made by the Company to a
Producer of the General Agent shall be a Joan which shall
create an indebtedness of the Producer to the Company.
This indebtedness of the Producer shall become an indebt-
edness of the General Agent to the Company if the
Company is not able to satisfy the Indebtedness of the
Producer by offset against present ar future compensation
payable to the Producer by the Company. The Company
can require an immediate repayment of any indebtedness
regardless of whether or not future compensation payable
to the General Agent appears to be adequate to offset such
indebtedness,

in the event the Company is required to pursue collection
procedures in order to collect any indebtedness, the
General Agent agrees to be liable for any and all Company
expense so incurred,

i) The General Agent shall pay all expenses incurred by
him in the performance of this Agreement.

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j) The General Agent may not assign any of his rights or
interests hereunder without the written consent of an
authorized officer of the Company. Any assignment shall
be subject to the right of reduction or set off as provided in
paragraph 4(h) above,

k) The failure of the Company to exact strict compliance
with the terms of this Agreement, or the failure to declare
any default when same shall become known to it, shafl not
operate as a waiver of such terms nor release the General
Agent from his obligation to perform this Agreament strictly
in accordance with its terms.

1) The Company reserves the right to discontinue writing all
or any part of its business in any jurisdiction upon written
notice thereof to the General Agent.

m) It Is expressly understood and agreed that this
Agreement contains all of the promises, inducements, and
representations between the parties, This Agreement cannot
be changed by any oral promise or statement. No written
modification will bind the Company unless signed by its
President.

n) The General Agent agrees to abtain Errors and Omissions
coverage in accordance with the rules of the Company now
In force and as such may hereafter be adopted.

5, RELATIONSHIP

it is understood and agreed that the General Agent shall be
considered an Independent contractor, As such, the
General Agent shall be free to exercise his own Independent
judgment as to the persons he solicits, the time and place
of solicitation and the Producers he appoints. No other
provision of this Agreement nor any rule or regulation of
the Company shall be construed to abridge this freedom or
create the relationship of employer and employee between
the Company and the General Agent or between the
Company and a Producer or employee of the General Agent.

6, TERMINATION

a) The violation by the General Agent of any of the provisions
of this Agreement, or, the General Agent's withholding or
converting to his own use funds or property of the Company,
an applicant or Insured, shall constitute an automatic breach
of this Agreement, which shall forthwith terminate, and all
rights of the General Agent to compensation hereunder or
otherwise payable on termination of this Agreement shall ba
tortelted, it Is expressiy agreed that prior termination of this
Agreement shall not terminate this provision.

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b) This Agreement shall automatically terminate upon (i} the
death or disability of the General Agent, if the General Agent
be an individual, (ii) the dissolution of the partnership, if the
Ganeral Agent be a partnership, or (iii) the dissolution of the
corporation, if the General-Agent be a corporation. Oisability
of the General Agent shall mean the total and permanent
disability of the General Agent as evidenced by the receipt of,
or qualification for, Social Security disability benefits,

¢) This Agreement, unless otherwise terminated as provided
above, may be terminated either by the Company or the
General Agent by giving the other party thirty days notice
In writing at the fast known address of such other party.

Termination of this Agreement shall automatically terminate
any previous Agreement between the Company and the
General Agent.

d) Upon termination, the Company may assign a servicing
agency of Its choosing In connection with any business
written by the General Agent or his producers; however,
such assignment will not of itself affect the vesting of
existing business.

7, COMPENSATION AFTER TERMINATION

If this Agreement be terminated other than as provided in
Paragraph 6(a) hereof, the General Agent shall receive
compensation with respect to premiums paid to and
accepted by the Company on and after the effective date of
such termination as follows:

a) On business written by the General Agent and his
Producers under this Agreement, the compensation will be
as provided In the Schedule of Compensation of this
Agreement.

b} On business written by the General Agent and his
Producers prior to the date of this Agreement, the
compensation will be as provided under the terms of any
previous Agreements, except as otherwise provided in the
Schedule of Compensation. Any payment becoming due
the General Agent under the terms of this Paragraph shall
continue to be subject to Paragraph 4(h) hereof.

8. PRIOR AGREEMENTS

This Agreement is substituted In place of all prior verbal or
written Agreements between the Company and the
General Agent and the provisions hereof shall be applicable
to all business written by the General Agent and his
Producers prior to the Date of this Agreement except as
may he otherwise specificatly provided herein.

Executed in duplicate by the Company and the General Agent to be effective as of the day and year written above, which Js the

Date of this Agreement.

\

Name of General Agent

he

General Agent

VA UY
Witness To Sefer “ey

The United States Life Insurance Company
in the City of New York

Authorized Officer

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The United States Life Insurance Company in the City of New York
A b pany of American International Group, Ine,
830 Third Avenue, New York, NY 10022

AMENDMENT TO GENERAL AGENT AGREEMENT

THIS AMENDMENT, effective the \o* day of YNOCCY, , oF, made by and between

The United States Life Insurance Company in the City of New York (hereinafter called the Company) and
\Lewin Becht | (hereinafter called the

General Agent) hereby amends and ({s attached to and forms a part of General Agent Agreement, dated

, as follows:

Section 1. of the Schedule of Compensation is hereby modified as follows:

Until , the expense allowance payment provided in
Saction 1. shall be considered compensation for agency development. The payment of such
additional compensation does not require vouchers evidencing expenses but is paid subject to New
York Insurance Law Section 4228(e)(4) and will not be used in any way to pay renewal commissions
to Producers at rates higher than specified in Section 1. No additional compensation will be payable
after the termination of the General Agent Agreement, for any reason whatsoever, on or before

¢

It is further understood and agreed that this Amendment does not alter, amend or modity said General Agent
Agreement, other than as herein set forth, and is subject otherwise to all the terms and conditions of said General
Agent Agreement.

Executed this day of ,

The United States Life Insurance Company
in the City of New York

hevin Beritel

Name of General Agent

i By

Gonoral Agent Authorized Officer

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The United States Life Insurance Company in the City of New York
A member company of Amarican international Group, Ine,

ASSIGNMENT OF COMMISSIONS

In consideration of one dollar the receipt of which Is hereby acknowledged _ Ve. wy RBechie
(hereinafter called Assignor), hereby assign(s), transfer(s), releases(s) and set(s) unto

lig panera acta Lifthersinafter called Assignee), present forwarding address 29 AAA Lane

devi? Fi 2e¢e7> , this, their, its) heirs, executors, administrators, successors
and assigns, all of Assignor’s right, title, interest, claim and demand, in and to
commissions which may now be payable, or may hereafter become due and payable under the terms of the agreement between

Assignor and
General Agent of The United States Life Insurance Company in the City of New York,

And Assignor hereby give(s) unto Assignee (his, their, its) heirs, executors, administrators, successors and assigns, full
power and authority for Assignee’s own use and benefit, to ask, dernand or collect all commissions assigned herein and
to receipt therefor as fully as Assignor might or could if the said commissions were paid to Assignor.

Further, Assignor hereby certifies that this assignment is being made

-7” Because Assignee will service the policies herein described.
C To satisfy an indebtedness.

Executed this \ a day of Wc aC Ky Ot

Witness V Orr LO LYE 210
tl’ OF ASSIGNOR DATE
Witness “Pan 2107
oft’ OF ASSIGNEE DATE
Approved by: _ fe
AUTHORIZED SIGNATURE OF GENERAL AGENT

This Assignment Is a direction to pay someone other than the Assignor, It does not affect the General Agent Agreement
between the Company and the General Agent. This Assignment is received and recorded subject to any and all prior
Assignments of record and to the Company’s and the General Agent's right of offset as provided in the agreement
between the Assignor and the General Agent. The Company assumes no responsibility as to the validity or effect of this

Assignment.
Dated:
The United States Life Insurance Company
in the City of New York
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The United States Life Insurance Company in the City of New York

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AIG American General

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The United States Life Insurance Company in the City of New York

AIG American General
PRODUCER'S CONTRACT

THIS CONTRACT is made this day of

by and between

General Agent of The United States Life

Insurance Company in the Clty of New York and
(hereinafter called “The Producer”)

1. AUTHORITY

a) The General Agent appoints the Producer to solicit and
procure applications for all types of insurance and annuities
Issued by the Company subject to the terms, conditions, and
limitations set forth herein,

b) The Producer shall be free to exercise his own judgment as
to the persons whom he will solicit and the time and place of
such solicitations but shall comply with and be bound by the
rules of the Company not interfering with such freedom of
action of the Producer. Nothing contained herein shall be con-
strued to create the relationship of employer and employee
between the Company or the General Agent and the Producer,

c) The Producer has no authority to do and agrees not to do or
atternpt to do the following: (1) to make, alter or discharge any
contract, pollcy or receipt, nor to waive any forfeiture provi-
sions or condition thereof; (2) to recelve any monies on behalf
of the Company except initial premiums and then only upon
strict compliance with the terms and conditions of the
receipts, policies or contracts issued by the Company and with
the rules of the Company; (3) to rebate or offer to rebate any
part of a premium; (4) to issue or circulate any advertising
material, circular or pamphiet relating to the Company unless
the same shall have been authorized and approved In writing
by the Company; (5) to make any misrepresentation or incom-
plete comparison for the purpose of Inducing a policyholder In
this or any other company to convert, lapse, forfeit or surren-
der his insurance therein; (6) to bind or obligate the Company
or subject the Company to any liability unless specifically au-
thorized in writing by the Company; (7) to endorse any checks
payable to the General Agent or the Company.

2. COMPENSATION

a) The General Agent agrees to pay to the Producer the com-
missions shown in the Commission Schedule in effect at the
time of application for the policies, a copy of which Is
attached hereto, in accordance with the Company's rules and
subject to the terms and conditions of this Contract, an pre-
miums covering insurance poilcies hereafter issued by the
Cempany on applications submitted by the Producer
through the General Agent, when and as such premiums are
paid to and accepted by the Company.

b) The Producer shall have no claim for commissions on any
business unless the Producer actually solicited the application
and his name appears thereon as Agent, It Is agreed that the
Producer shall have no claim against the Company for com-
missions under this Contract except as provided under the
terms of the Agreement of the Company annexed hereto.

¢) The Commission Schedule may be changed at any time,
with respect to business written thereafter, upon written
notice from the General Agent to the Producer.

d) Any monies due the Producar hereunder shall be subject
to reduction or offset for any indebtedness of the Producer to
the General Agent or the Company.

a) If the Company shall, either during the continuance of the
Contract or after its termination, return the premium on any
policy for any reason, the Producer agrees to repay all com-
missions received on premiums so returned to the General
Agent or the Company upon demand,

f) If any policy shall terminate for non-payment of premium
and be reinstated subsequently, the Producer shall not be
entitled to any further commissions on such policy unless it
is reinstated by the Producer himself during the continuance
of this Contract.

3, GENERAL PROVISIONS

a) The Producer agrees to comply with all applicable insur-
ance laws and regulations and with all the published rules,
regulations and instructions of the Company now in force
and such as may hereatter be adopted.

b) The Producer specifically agrees to indemnify and to save
the General Agent and the Company harmless against or
from liability of any type for judgments, litigation costs, dam-
ages, attorney's fees, fines, penalties or other losses or
expenses incurred by the General Agent or Campany result-
ing from or growing out of any unauthorized act by the
Producer, the Producer's employees or representatives,

¢) The Producer shall maintain In good order the records and
accounts of business transacted on behalf of the Company
for inspection by, or delivery to the General Agent or the
Company upon request.

d) No assignment of the commissions or other rights accru-
ing under this Contract shall be binding upon the General
Agent or the Company unless consented to In writing by the
General Agent and the Company; any such assignment shall
be subject to the right of reduction or setoff as provided in
paragraph 2(d) above,

8) If, subject to the written consent of the Company, the
Agreement between the General Agent and the Company Is
assigned to a successor General Agent, the successor
General Agent shail be substituted for and in the place of the
General Agent under this Contract and shall assume all fia-
bility for payment of the commissions hereunder and such
payment shall release the General Agent named herein from
any and all liability therefor,

f) All premiums received by tha Producer for the Company
shall be immediately paid over to the General Agent.

g) This Contract shall supersede any and all previous agree-

ments between the General Agent and the Producer with

respect to any Individual life insurance policies, group

policies, and annuity contracts written after the date of this
ontract.

h) The failure of the General Agent to enact strict compliance
with the terms of this Contract or the fallure to declare any
default when the same shall become known to the General
Agent, shall not operate as a walver of such conditions nor
release the Producer from his obligation to perform this Con-
tract strictly in accordance with its terms.

i) The Company reserves the right to discontinue writing all
or any part of its business in any jurisdiction upon written
notice thereof by the General Agent to the Producer and nei-
ther the Company nor the General Agent shall incur liability
to the Producer by reason of the Company doing so.

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4) TERMINATION

a) Any violation of any sectlons of paragraphs 1(c) or 3(f) of
this Contract, or, the Producer’s withholding or converting to
hls own use funds or property of the General Agent or the
Company, an applicant, or insured, shall effect an immediate
termination of this Contract and a forfeiture of any and all
commissions and other rights which would otherwise accrue
to the Producer. ft Is expressly agreed that prior termination
of this Contract shall not terminate this provision.

b) This Contract shall automatically terminate upon (i) the
death of the Producer, if the Producer be an individual (ii) the
dissolution of the partnership, if tha Producer be a partner-
ship, or (iii) the dissolution of the corporation, if the Producer
be a corporation.

c} This Contract, unless otherwise terminated as provided in
sactions 4{a) or 4(b) above, may be immediately terminated
by either the General Agent or the Producer upon the maii-
ing of written notice to the other party at the last known
address of such other party.

5) SPECIFIC PROVISIONS - INDIVIDUAL INSURANCE

a) No commissions will be allowed on premiums waived on
account of total and permanent disability of the insured.

b) If a policy is changed or converted to a new policy or if a
new policy is issued and a previously existing policy on the
same life is terminated within six months before or after the
issue of the new policy, the commissions payable on the new
policy shall be determined by the rules of the Company cur-
rent at the time of such change, conversion or new business.

¢) If this Contract be terminated other than as provided In
paragraph 4{a) hereof, the Producer shall receive commis-
sions as provided in the Commissions Schedule with respect
to premium paid to and accepted by the Company on and
after the date of such termination subject to all rules of
Paragraph 2 of this Contract.

6) SPECIFIC PROVISIONS - GROUP INSURANCE

a) The first year commission rate shall apply to premiums for
each policy covering the period of one year (or any part
thereof) from the effective date of each policy; the renewal
commission rate shall apply to premiums for each policy
year thereafter so long as the Producer is tegally authorized
to solicit such insurance by the insurance department having
jurisdiction over the policies.

b) Renewal cormmissions will continue to be paid so long as
the Producer (1) is legally authorized to solicit such insurance
by the Insurance department having jurisdiction over the
policies; (2) is continuously and actively engaged aa an
Agent, Broker, or Producer in the insurance business: (3) is
recognized by the policyholder as Agent, Broker or Producer
of record; (4) services the policies covered by this Contract in
a manner satisfactory to the Company; and (6) this Contract
tamainea in force.

¢} In the event of the extension of any of the policies to cover
persons not included on the effective date of the policy or in
the event the existing policy is revised to increase the sched-
ule of insurance or add a new benefit for those elready
Insured, this Producer Contract shall not apply to premiums
for such additional Insurance but commissions shall be paid
in accordance with the rules of the Company existing on the
date of the extension or addition,

d) Commission adjustments will be made at the end of each
premium paying period. Except as provided in the preceding
paragraph, if the original premium for any premium paying
period has been increased by net adjustments during said
period, additional commission will be allowed upon the net
increase; If it has been decreased, a refund of commission
must be made by the Producer and such refund commission

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shall he a first charge against any commissions accrued or to
accrue under any insurance policy in the Company and may
be deducted therefrom.

7) AGREEMENT OF THE COMPANY

THE UNITED STATES LIFE INSURANCE COMPANY IN THE
CITY OF NEW YORK hereby agrees that, In the event the
Agreement between the General Agent and the Company is
terminated,

a) it will pay directly to the Producer the commissions which
may thereafter become due and payable to the Producer
under this Producer's Contract; 6) the Producer without fur-
ther action or notice, may continue to submit applications for
policies and contracts issued by the Company directly to the
Company or such representative as may be designated by
the Company to receive them until this Producer's Contract
shail be otherwise terminated; c) untass this Producer's
Contract is terminated as provided in paragraphs 4{a) or 4lb)
or by either the Producer or the Company giving written
notice of termination to the other party, it shall continue in
force as between the Company and the Producer upon the
same terms and conditions as set forth In the Contract.

CONTINUING SERVICE FEE AGREEMENT - INDIVIDUAL LIFE
INSURANCE

This Agreement, effective the same date of the Producer's
Contract is between the Producer and THE UNITED STATES
LIFE INSURANCE COMPANY IN THE CITY OF NEW YORK
{hereafter called “The Company”)

Subject to the terms and conditions herein provided, the
Company will pay to the Produces, a Service Fee on business
written by the Producer and iesued by the Company.

1, Service Fae. In arder to qualify for the Servica Fee, the
Producer must have completed the Basic Quatification here-
after described. The Service Fee will be paid during the cal-
endar year immediately following the calendar year in which
the Basic Qualification has been completed and in any cal-
endar year thereof which is immediately preceded by a cal-
endar year in which the Producer has earned at feast
$1200.00 of the first year commissions. If, however, the
Producer be an Individual and completes the Basic
Qualification, then beginning on his retirement date, here-
inafter defined, the Service Fee will be paid each calendar year
thereafter go long as the Producer shall live. The retirement
date of an individual shall be the first day of January of the
earliest calendar year (1) following his 65th birthday and (2)
immediately preceded by seven calendar years in which the
Producer has earned not less than $1200.00 first year com-
missions in each of four thereof.

The Service Fee shall be payable only on individual life insur-
ance policies and annulty contracts having Issue dates on or
after the beginning of the first calendar year which is cradit-
ed to the Basic Qualification, issued by the Company on ap-
plications solicited by the Producer and on which his name
appears as Agent. The Service Fee shall be equal to 2% of
the premiums accruing on such policies and contracts after
the tenth policy or contract year thersof as shall be paid to
and accepted by the Company during any calendar year in
which the Service Fee is payable.

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2, Basic Qualification. In order to qualify for the Service
Fee, the Producer must have earned first year commissions
on business written for the Company of at least $600.00 in
each calendar year for two calendar years followed by first
year commissions of at least $1200.00 in each calendar year
for any succeeding eight calendar years, PROVIDED, HOW-
EVER, that If the Producer fails to earn at least $600.00 of
first year commissions in each calandar year for any two
consecutive calendar years, he shall not recelve any credit
toward his Basic Qualification for any calendar year prior
thereto. Only calendar years after the effective date of this
Agreement shali be credited toward the Basic Qualification.

3. Disability. if, in the sole judgment of the Company, the
Producer is totally disabled for a period of 60 days or more
In any calendar year, the requirement for qualification in
such calendar year may be reduced proportionately,

4, First Year Commissions, For the purpose of this Agree-
ment first year commissions shall mean first year commis-
sions earned by the Producer on first year premiums on
individual life insurance policies and annuity contracts
Issued by the Company on applications solicited by the
Producer and on which his name appears as Agent, For the
purpose of this Agreement first year commissions shall be
earned when such first year premiums are actually due and
paid to and accepted by the Company, The Company’s
determination of first year commissions which are to be
taken into account for the purpose of this Agreement shall
be final and binding upon the Producer.

5, Payment of Service Fee. Any Service Fee accruing here-
under shall be paid quarterly unless the Company elects to
pay on some other basis but in no event less frequently
than annually.

6. Termination of Service Fee, Accrual of all Service Fees shall
cease upon termination of the Producer's contract. Any such
termination shall not affect the payment of any Service Fees
which have accrued prior thereto, unless termination has been
in accordance with section 4(a) of the Producer's Contract.

7. Nonassignability, The Producer may not assign this
Agreement or any right or interest which may acerue to him
hereunder, it being an express condition of this Agreement
that it shall not be subject to assignment.

8. Independent Agreement. This Agreement shail be
deemed separate and Independent from any General Agent,
District Agent, Producer, Agent or Broker Agreement
between the Producer and the Company or any General
Agent or District Agent of the Company and shalt not affect,
modify of limit in any way the rights or obligations of the
respactive parties under such General Agant, District Agent,
Producer, Agent or Broker Agreement.

9. Relationship, Nothing contained herein shalt be con-
strued to create relationship of employer and employee
between the Company and the Producer, it being under-
stood that the Producer is not obligated hereunder to solicit
applications on behalf of the Company, and that he shall be
free ta exercise his own judgment as to the persons whom
he will solicit and the time and place of such solicitations.

10. Modification or Termination of Agreement. The
Company reserves the right to change, modify or terminate
this Agreement upon prior written notice to the last known
address of the Producer provided, however, that no such
change, modification or termination shall affect the
Producer's rights hereunder which have accrued prior to the
effective date of such change, modification or termination.

IN WITNESS WHEREOF, the parties hereto have duly executed the foregoing Producer's Contract and Continuing Service Fee

Agreement on the day and year written above.
Signature of General Agent as party to the Producer's

Contract

GENERAL AGENT

Signature of Producer as party to both the Producer's
Contract and Continuing Service Fee Agreement

Me,

PRODUCER

Signature of individual authorized on behalf of Company for the Agreement of the Company annexed to the Producer's Contract

and ag a party to the Continuing Service Fee Agreement,

The United States Life Insurance Company
In the City of New York

AUTHORIZED SIGNATURE

830 Third Avenue
New York, NY 10022
(212) 709-6000

The United States Life Insurance Company
in the City of New York

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